Case 2:04-cV-02987-.]P|\/|-de Document 31 Filed 05/13/05 Page 1 of 2 Page|D 32

 

   
 

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IN THE UNITED sTATEs DIsTRIcT COURT ann
FoR THE WESTERN DISTRICT oF TENNESSEE OSFM m m
wEsTERN DIVISION d MIU.- !6
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1115 111-111

PULL-A-PART, L.L.c. ,

 

Plaintiff,
No. 04-2987 Ml/V
v.

MITCHELL ROAD AUTO PARTS,
L.L.C.,

'q_¢~_¢'\-r\_r\_¢\_¢\-¢\-¢\-¢v

Defendant.

 

ORDER SETTING STATUS CONFERENCE

 

The Court hereby sets a status conference in this case for
Tuesdav, Mav 24, 2005, at lO:OO a.m. At the ccnference, the
parties should be prepared to discuss whether this case should be
scheduled for a Federal Rule cf Civil Prccedure 65(a)(2) hearihg,

as well as any ether scheduling issues.

SO ORDERED this _EZL day cf May, 2005.

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P. MCCALLA
UO TED STATES DISTRICT JUDGE

 

Tnls document entered on the docket anth fn compliance
w11n sum 58 and/or 79(111FHCP on §‘ / ‘7-' 0

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This notice confirms a copy of the document docketed as number 31 in
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Honorable J on McCalla
US DISTRICT COURT

